         Case 1:21-cv-03136-MKD      ECF No. 22    filed 06/24/22    PageID.1067 Page 1 of 3


                                                                              FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON
1
                                                                     Jun 24, 2022
2                                                                        SEAN F. MCAVOY, CLERK




3

4

5                           UNITED STATES DISTRICT COURT

6                         EASTERN DISTRICT OF WASHINGTON

7    JOSEFINA C.,1                                      No. 1:21-cv-03136-MKD

8                           Plaintiff,                  ORDER GRANTING
                                                        STIPULATED MOTION FOR
9             v.                                        REMAND PURSUANT TO
                                                        SENTENCE FOUR OF 42 U.S.C. §
10   KILOLO KIJAKAZI, ACTING                            405(g) AND CLOSING FILE
     COMMISSIONER OF SOCIAL
11   SECURITY,                                          ECF Nos. 16, 21

12                         Defendant.
              Before the Court is the parties’ Stipulated Motion for Remand, ECF No. 21,
13
     requesting remand of the above-captioned matter to the Commissioner for
14
     additional administrative proceeding pursuant to sentence four of 42 U.S.C. §
15
     405(g). Attorney D. James Tree represents Plaintiff. Attorney David Burdett
16
     represents Defendant.
17

18   1
         To protect the privacy of plaintiffs in social security cases, the undersigned

19   identifies them by only their first names and the initial of their last names. See

20   LCivR 5.2(c).



     ORDER - 1
      Case 1:21-cv-03136-MKD      ECF No. 22   filed 06/24/22   PageID.1068 Page 2 of 3




1          After consideration, IT IS HEREBY ORDERED that:

2          1. The parties’ Stipulated Motion for Remand, ECF No. 21, is GRANTED.

3          2. The above-captioned case be REVERSED and REMANDED to the

4    Commissioner of Social Security for further administrative proceeding pursuant to

5    sentence four of 42 U.S.C. § 405(g).

6          The parties have stipulated to the following:

7          On remand, the Appeals Council will instruct the ALJ to:

8              Offer Plaintiff the opportunity for a new hearing and further develop

9                the record;

10             Obtain medical expert testimony from a qualified pediatrician or

11               specialist in an appropriate field of medicine who has reviewed the

12               record in its entirety;

13             Reevaluate the opinion evidence;

14             For the period prior to the date Plaintiff attained age 18, reevaluate

15               whether the severity of Plaintiff’s impairments met or medically

16               equaled the criteria of a listed impairment or functionally equaled the

17               listings; and

18             Issue a new decision.
19   See ECF No. 21 at 1-2.
20         3. Judgment shall be entered for PLAINTIFF.



     ORDER - 2
      Case 1:21-cv-03136-MKD     ECF No. 22    filed 06/24/22   PageID.1069 Page 3 of 3




1          4. Plaintiff’s Motion for Summary Judgment, ECF No. 16, is STRICKEN

2    AS MOOT.

3          5. Upon proper presentation, this Court will consider Plaintiff’s application

4    for fees and expenses under the Equal Access to Justice Act, 28 U.S.C. § 2412(d).

5          The District Court Executive is directed to enter this Order, enter

6    Judgment, forward copies to counsel, and CLOSE THE FILE.

7          DATED June 24, 2022.
8
                                  s/Mary K. Dimke
9                                MARY K. DIMKE
                          UNITED STATES DISTRICT JUDGE
10

11

12

13

14

15

16

17

18

19

20



     ORDER - 3
